Case 1:05-cr-01849-JCH Document1772-1 Filed 12/14/09 Pagelof1

U.S Department of Justice PROCESS RECEIPT AND RETURN

United States Marshals Service Se sets tr rServeoFFroen wy tte US Martel” (1) A" CVS — J" 7 ]
PLAINTIFF COURT CASE NUMBER Ary

United States of America 05-1849 JH 7p
DEFENDANT TYPE OF PROCESS mn
Dana Jarvis, et.al. . Release of Lis Pendens c) 6 Is £7

SERVE NAMES. OF INDIVIDUAL, COMPANY, CORPORATION, ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

» ADDRESS (Street or RED, Apartment No, City, State and ZIP Code}

AT

SEND NOTICE OF SERVICE COPY TO REQUESTER AT RAME AND ADDRESS BELOW:

4 | * Number of process to be
Stepkheer Rr-Kote Cyn Ha . was War? served with this Form ~ 285

' . thee
Assistant United States Attorney *
P Oo Box 607 Number of pariles to be ¥

Nee ‘ served in this case ce.
Albuquerque, NM 87103 onusA =

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WiLL ASSIST IN EXPEDITING SERVER (lnelude Business and Alternate Addresses, All vrendigift Numbts

and Gstimated Times Available For Server):

l. Please file the attached Release of Notice of Lis Pendens real property 8618 Ist St., Albuquerque, NM with the Bernalillo

County clerks office in Albuquerque, NM. 4

2 Return completed copies for filing. p BA 4 Ae

ene y or wee ee on behalf of: M PLAWTIEF TELEPHONE NUMBER DATE
( i ee en (GDEFENDANT $05) 346-7274 09/16/09

l acknowledge receipt for the total
sumbct of process indicated,
(Sign only first USM 285 If more
than one USK 285 ts submitted)

District

SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
Total Process
ofOrigin |

an Si tile of Author|ged USMS - oe, Fate

io Serve nett

a - ” “2 .

/ wo. 2 ( no, ( C Ban cc 7-109

E hereby certify and return that EO have personally served, G have legal evidence of service, ‘ ave executed as shown in "Remarks", the process degerlbed
on the individual, company, corperaiion, etc,, at the address shows above er on the individual, company, corporattion, etc., skown ai the address Inserted below,

CLE hereby certhfy and return that | am unable to locate the individual, company, corporation, #tc,, named above (Sce remarks below)

Name and tite of ladividual served (if not shown abeve)} A person of sultable age and dis-

C] erection ther residing in the defendant's

ustal place of abode.
Address (complete only if different than shown abeve} Date of Servier Time

/O-!@-o7 ito ca)

ny" of U5, Marshal or me —
Service Fee Fotal Mileape Charges Forwarding Total Charges Advance Deposits Amount owaed tg 40S, Marshal or Amoust ef Refund
{including endeavors) Fee |

REMARKS:

Pecedal on (o\Welor

MAV REUSED 1. CLERK OF THE COURT FORM UsMass
